Case 2: 97- -C\/- 06909- ER- CW Document 131 Filed 08/20/15 Page 1 of 41 Page |D #: 40

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF DOCUMENT DISCREPANCIES

To: ij U.S. District ]udge/ |Zl U.S. Magistrate ]udge Carla M. Woehrle

, Deputy Clerk Date Received: 08/ 19/ 2015

From: M. Krause

Case No.: 2197-CV-06909-ER-CW

 

 

Case Title: Henry Oknyansky v. Gloria S. Kee, et al

 

Document Entitled: Declaration of Henry Oknyansky

 

Upon the submission of the attached document(s), it was noted that the following discrepancies exist:

|:| Local Rule 5-4.1
|:| Local Rule 6-1

|:l Local Rule 7-19.1
l:l Local Rule 7.1-1
l:\ Local Rule 11-3.1
l:l Local Rule 11~3.8
l:| Local Rule 11~4.1
|:l Local Rule 11-6
|:l Local Rule 11-8
l:l Local Rule 15-1
l:l Local Rule 16-7
l:l Local Rule 19-1
l:| Local Rule 56-1
l:l Local Rule 56~2
El Local Rule 83-2.5
l:l F€d. R. Civ. P. 5
Other:

Documents must be filed electronically

Written notice of motion lacking or timeliness of notice incorrect
Notice to other parties of ex parte application lacking

No Certification of Interested Parties and/or no copies

Document not legible

Lacking name, address, phone, facsimile numbers, and e-mail address
No copy provided for judge

Memorandum/brief exceeds 25 pages

Memorandum/brief exceeding 10 pages shall contain table of contents
Proposed amended pleading not under separate cover

Pretrial conference order not signed by all counsel
Complaint/Petition includes more than 10 Does or fictitiously named parties
Statement of uncontroverted facts and/or proposed judgment lacking
Statement of genuine disputes of material fact lacking

No letters to the judge

No proof of service attached to document(s)

Case Closed. No action the Court can take on the request.

 

Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

 

IT IS HEREBY ORDERED:

ORDER OF THE ]UDGE/MAGISTRATE IUDGE

[:I The document is to be filed and processed. The filing date is ORDERED to be the date the document Was stamped
“received but not filed” with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
lead to penalties pursuant to Local Rule 83-7.

Date

 

U.S. District judge / U.S. Magistrate Iudge

|Zl The document is NOT to be filed, but instead RE]ECTED, and is ORDERED returned to counsel.* Counsel* shall
immediately notify, in writing, all parties previously served with the attached documents that said documents have not
been filed with the Court. -

08/20/ 2015

Date

Camm.wM
U-S-Diet-Fiet-I-udge / U.S. Magistrate Iudge

 

* The term “counsel” as used herein also includes any pro se party. See Local Rule 1-3.

COPY l

-ORIGINAL-OFF!CE

COPY 2 -]UDGE

COPY 3 -SIGNED & RETURNED TO FILER COPY 4 -FILER RECEIPT

 

CV-104A (06/13)

NOTICE OF DOCUMENT DISCREPANCIES

 

L Case 2:97-cv-06909-§FSC\BIMld£rie&té.&h_|Hled 08/20/15 Page 2 of 41 Page |D #:41

4 CENTRAL DlSTRlCT OF CALlFORNlA
/S’EMZV O/é/\/W/l/§’K
,/;L /§a /+a fYLQ/@“/€ PL/?.
Wi // V///Q' / 2d gm 07 Honorable Carla Woehrle
g 5 §/755" 759‘?? U.S. l\/lagistrate Judge
a_¢/t-a/~@@//W~m -~<r W

"“:r` RAT|ON OF HENRY OKNYANSKY

FlECElVED BUT NOT FlL'EU"V
CLERK, U.S. D|STFllCT COURT

 

NB l§?m§

“"/§'(_" .1 1 `:T'oF cAuFo`FlNiA
§$NTR ’ oEPuTY

August 18, 2015

 

 

 

_ Around August 1998 l file Federal Habeas Corpus while in lNS detention center at San
Pedro,CA.
After almost 2 years in lNS custody, in 2000, l decided to leave US voluntarily, because
there was a great concerns about my health.. l left country voluntarily. /-\ll immigration
proceedings against me were closed. There was never any deportation orders against me.
l\/lore then 8 years, while outside U.S., l provide information to FB| Special Agent David
Baker. Wherever l was, from lran, to North Korea, l always send information to l\/lr. Bal<er.
ln 2008 he requested Special Public Benefit Parole for me and lNS granted 2 90 days.
ln 2009 FBl requested another parole for me, because of very good information l provided
At this time was granted for one year multi entry and work permit. Because of problems with
DHS getting the information to U.S. Embassy, l entered country only in 2010.
After that l still,provided information to FBl. l\/leet with supervisors, and many Special
agents.
When David Baker getting ready to retire in 2013, he transferred me to FBl l\/liami Field
Office, where agents request parole for me, as promised to l\/lr. Baker, and S visa as well.
After several months of waiting, nothing was happened

l 'olecid'ed”to"stdp cooperatio`n"with lVliami FB| "offic'el instead of parole "a"n'd S visa for me, as
promised, they took me to DHS office and give me to them.
Fortunately, DHS Supervisor was there and after processing and heard my story, he
released me, saying that he Knows how FB| treating their people...
l entered U.S. legally on parole, we never received anything back from them for last request.
Still pending, was DHS answer...
Almost two years passed since. There is nothing. l\lo court dates, no status again, like

 

almer aearsvagaaoaraacwarooaapemag vathrMO/lfz Page 3 0141 Page ID #:42
l think it's 'unfair. l cooperated with the FBl for 17 years, often put my life in danger. Based
on my information there is so many arrests criminals from drugs and human trafficking,
money laundering and insurance frauds. U.S. Treasure revoked many U.S.visas from
criminal groups, for money laundering and association with international criminal entities,
based on my information.

Under penalties of periury, l declare that everything is true and correct on the best of my
knowledge.

 

 

Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Page 4 of 41 Page |D #:43

U.S. Department of Homeland Security NOth€ to Appeal'

 

 

In removal proceedings under section 240 of the Immigration and Nationality Act:

Subject ID: 347738421 FINS: 1194021
FileNo: A072 860 975

DOB: 06/01/1959 Event No: XMIl410000008

 

in the Matter of:

GENNADY vAsILYEvIcH ARZHANIK mt ARZHANIK, cannady vasilyevich . .
Respondent: currently res1d1ng at:

500 Three Ialands Boulevard,Apt 1820,Ha11endale Beach, FLCRIDA, 33009
(305) 766-7889

(Number, street, city and ZIP code) (Area code and phone number)

§ l. You are an arriving alien.
l:l 2. You are an alien present in the United States who has not been admitted or paroled.

l:l 3. You have been admitted to the United States, but are removable for the reasons stated below.

The Department of Homeland Security alleges that you:
See Continuation Page Made a Part: Hereof

On the basis of the foregoing, it is charged that you are subject to removal from the United States pursuant to the following
provision(s) of law:
See Continuation Page Made a Part Hereof

l:l This notice is being issued after an asylum officer has found that the respondent has demonstrated a credible fear of persecution
or torture
l:l Section 235(b)(1) order was vacated pursuant to: l:lSCFR 208. 30(1)(2) l___lSCFR 235. 3(b)(5)(iv)
YOU ARE ORDERED to appear before an immigration judge of the United States Department of Justice at:

T:`tme and date to be set.

 

(Complete Add/'ess of Immigrah'on Court, including Room Number, zfany)

on To be set . at TO be Seb- to show Why you should not be removed from the United States based on the

(D“te) (T"’"e) ' /`;\/ (_Q:`/© ( l g Suner\\ `\,S>\L\\
charge(S) Set forth above. ` ?`\°"H\ N \’\`3\' ' ~SP@L\F*\ l§\@tw\

tle of Issuing jicer)

, (Signatu)e and
Date: lc)"l" li j l\[\\'f\\l\/\\ a \(`/\:l\" 0\

(City and State)

 

 

See reverse for important information
Form 1-862 (Rev. 08/01/07)

 

Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Page 5 of 41 . Page |D #:44

l »

U.S.Department ofHomeland Security Order OfReleaSe OIl RecOglllZaIlC€

 

FileNo AO72 860 975

Date: f 910 H 3-431.§ __
Event NO: XMIl4lOOOOOOB
Name: GEN'NADY VASILYEVICH ARZHANIK AKA: ARZHANIK, Gennady Vasilyevich

Y ou have been arrested and placed m removal proceedings In accordance With section 236 of the Irnmigration and Nationality Act

and the applicable provisions of Title 8 of the Code of Federal Regulations, you are being released on your own recognizance
provided you comply With the following conditions:

D’{:u/must report for any hearing or interview as directed by the Department of Homeland Security or the Executive Office for
Immigration Review.

ou must surrender for removal from the United States if so ordered.

l:l You must report in (writing) (person) to

 

' ( Name and Titleof Case Officer)

at on at
(Location of DHS Offlce) (Day of each week or month) (Time)

If you are allowed to report in writing, the report must contain your name, alien registration number, current address, place of
employment, and other pertinent information as required by the officer listed above.

'l:] You must not_change you_r place of residence without first securing written permission from the immigration officer listed above.
l:l You must not violate any local, State, or Federal laws or ordinances

m You must assist the Department of Homeland Security in obtaining any necessary travel documents
m Other: `

 

 

m See attached sheet containing other specified conditions (cominue on separateshee\ ifrequired)

 

NOTICE: Failure to comply with the conditions of this order may result in revocation of your release and your arrest and

detention by the Department of Homeland Security.
Q,g wade

(Signature cial)ti MFQ\
<r<,t\t rn/\

%"(Printed Name and Title of Offlcial)

 

 

 

 

Alien's ‘Acknowledgment of Conditions of Release on Recognizance

l hereby acknowledge that l have (read) (had interpreted and explained to me in the language)
and understand the conditions of my release as set forth in this order. l further understand that ' ~ do not comply with these
conditions, the Department of Homeland Sec,ur~ity may revoke my release w' hout further r1

(Signature of immigration Offlcer Scrving Order) V//' (Signatlire of| f)A ( ate)

Cancellation of Order

 
  

 

 

I hereby cancel this order of release because: l:l 'l`he alien failed to comply with the conditions of release

m The alien was taken into custody for removal

 

(Signature of immigration Officer Canceling Order) (Da!€)

Form l-220A (Rev. 08/01/07)

 

 

Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Page 6 of 41 Page |D #:45

\
c

 

Notice to Respondent

Warning: Any statement you make may be used against you in removal proceedings

Alien Registration: This copy of` the Notice to Appear served upon you is evidence of your alien registration while you arc under removal
proceedings You are required to carry it with you at ali times

Representation: If you so choose, you may be represented in this proceeding, at no expense to the Govcmment, by an attorney or other individual
authorized and qualified to represent persons before the Executive Office for Immigration Review, pursuant to 8 CFR 3.16. Unless you so request, no
heating will b_e scheduled earlier than ten days from the date of this notice, to allow you sufficient time to secure counsel. A list of qualified attorneys
and organizations who may be available to represent you at _no cost will be provided with this notice.

Conduct of the hearing: At the time of your hearing, you should bring with you any affidavits or other documents, which you desire to have
considered in connection with your case. If you wish to have the testimony of any witnesses considercd, you should arrange to have such witnesses
present at the hearing.

At your hearing you will be given the opportunity to admit or deny any or all of the allegations in the Notice to Appear and that you arc inadmissible
or removable on the charges contained in the Notice to Appear. You will have an opportunity to present evidence on your own behalf, to examine any
evidence presented by the Govemmcnt, to object, on proper legal grounds, to the receipt of evidence and to cross examine any witnesses presented by
the Govemment. At the conclusion of your hearing, you have a right to appeal an adverse decision by the immigration judge.

_You will be advised by the immigration judge before whom you appear of any relief from removal for which you may appear eligible including the
privilege of departure voluntarily You will be given a reasonable opportunity to make any such application to the immigration judge.

Failure to appear: You are required to provide the DHS‘, in'writing, with your full mailing address and telephone numben You must notify the
Immigration Court immediately by using Form EOIR-33 whenever you change your address or telephone number during the course of this precceding.
You _will be provided with a copy of this form. Notices of hearing will be mailed to this address lf you do not submit Form EOlR-33 and do not
otherwise provide an address at which you may be reached during proceedings then the Govemment shall not be required to provide you with written
notice of your hearing. If you fail to attend the hearing at the time and place designated on this notice, or any date and time later directed by the
Immigration Court, a removal order may be made by the immigration judge in your absence, and you may be arrested and detained by the DHS.

‘ Mandatory Duty to Surrender for Removal: If you become subject to a final order of removal, you must surrender for removal to one of the

. offices listed in 8 CFR 241.16(a). Specific addresses on locations for surrender can be obtained from your local DHS office or over the internet at
http://www.ice.gov/about/dro/contact.htm. You must surrender within 30 days from the date the order becomes administratively final, unless you
obtain an order from a Federal court, immigration couxt, or the Board of Immigration Appeals staying execution of the removal order. Immigration
regulations at 8 CFR 241.1 define when the removal order becomes administratively final. If you are granted voluntary departure and fail to depart
the United States as required, fail to post a bond in connection with voluntary departure, or fail to comply with any other condition or term in
connection with voluntary departure, you must surrender for removal on the next business day thereafter If you do not surrender for removal as
required, you will be ineligible for all forms of discretionary relief for as long as you remain in the United States and for ten years aiter departure or
removal. This means you Will be ineligible for asylum, cancellation of removal, voluntary departure, adjustment of status, change of nonimmigrant
status, registry, and related waivers for this period. If you do not surrender for removal _as required, you may also be criminally prosecuted under
section 243 of the Act.

 

_ Request for Prompt Hearing
To expedite a determination in my case, l request an immediate hcan'ng. l waive my right to a lO-day period prior to appealing before an immigration
judge. ‘

Before:

 

(Signa!u)'e of Respondent)

Date:

 

(Sz`gnalu/'e and Tille of Immig)‘ah'on O/j"z`cer)

 

Certificate of Servi.ce

This Notice To Appear was served on the respondent by me on l 01 O.)'[J'o § § , in the following manner and in compliance with section
239 n)'(F) ofche Acc.
in person n |:| by certified mail, returned receipt requested I:| by regular mail
l:l Attached is a credible fear worksheet.
I:l Attached is a list _of organization and attorneys which provide free legal services

 

 

 

 

 

The alien was provided maj notice in the €f\,f.`) lgsl’\ language of the time and place of his or her hearing and of the
consequences of failure to appear as provide n section 240(b)(7) of the Act.
. /" A\ /2(_//// .
/)//// . Snaaar nga
((SMY€€£ Respondcnt if Personyily Scrved) (Sl§na“"° and Tm° °f °mcer)
'\/ `

 

Form 1-862 Page 2 (Rev. 08/01/07)

Case 2:97- cv-O€QOQ-ER-CW Document 131 Filed 08/20/15 Page 7 of 41 Page |D #:46
U.S. Department of Justice

INTERPOL Washington
U.S. National Central Bureau

 

 

 

Washz'ngton, DC 20530

MAY lt lellt
FOIA # 2014-117

Mr. I-lenry Oknyansky

600 Three lslands Boulevard
Apartment 1820

Hallandale Beach, FL 33009

Dear Mr. Henry Oknyansky:

This responds to your request dated March 06, 2014, to the Department of Homeland l
Security, U.S. Citizenship and lmmigration Services (USCIS), pursuant to the Freedom of
' lnformation Act (FOIA) for information concerning yourself

USCIS referred your request along with 8 pages, to lNTERPOL_Washington. We received
your request on May 09, 2014. Please refer to the above FOIA number assigned to your request in
any additional correspondence

For your information, Congress excluded three discrete categories of law enforcement and
national security records from the requirements of the FOIA. See 5 U S C. 552(0) (2006 & Supp. IV
2010). This response is limited to those records that are subject to the requirements of the FOIA.
This is a standard notification that 1s given to all our requesters and should not be taken as an
indication that excluded records do, or do not, exist. 1

'W e have reviewed the documents and determined that one page may be released m their
entirety

Five pages with partial redactions pursuant to Title 5, United States Code, Section 552
(b)(6), (b)(7)(C), and (b)(7)(D of the FOIA.

Exemption (b)(6) concerns material the release of which would constitute a clearly
unwarranted invasion of personal privacy of third parties

Exemption (b)(7)(C) of the FOIA relates to records or information compiled for law
enforcement purposes only to the extent that the production of such law enforcement records or
information, if disclosed, could reasonably be expected to constitute an invasion of personal '
privacy. , __

 

'Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Page 8 of 41 Page |D #:47

Exemption (b)(7)(D) provides protection for records or information that could reasonably be
expected to disclose the identity of a confidential souroe, including a state, local, or foreign agency
or authority or any private institution which furnished information on a confidential basis, and, in
the case of a record or information compiled by a criminal law enforcement authority in the course
of a criminal investigation, information furnished by a confidential source.

Inforrnation originating with INTERPOL and foreign National Central Bureaus is provided
to the USNCB pursuant to resolutions adopted by INTERPOL in 1974 and 1988, and the
information is provided to USNCB with an understanding that it is for law enforcement purposes
oiily.

The remaining 2 pages originated with a foreign National Central Bureau and are being
withheld in full, pursuant to Exemption (b)(7)(D).

If you are not satisfied with the actions of INTERPOL Washington on your request, you
may appeal by writing to:

Co-Director

Office of Information Policy
U.S. Department of Justice
Suite 11050

1425 New York Avenue, NW
Washington, DC 20530-0001

You must make your appeal iii writing and it must be received by the Office of Information
Policy within 60-days of the date of the letter denying your request. ln addition to mailing your
appeal, you may also submit your appeal through the OIP eFOIA portal at 4
http://Www.iustice.gov/oip/efoia-portal.html. Both the letter and envelope, or the email should be

clearly marked “Freedom of Inforrnation Act Appeal.”

-If you have any questions concerning this request, please contact Daniel Dernbkowski at
(202) 616-0201.

Sincerely,

Shawn A. Bray
, Director

/¢N'a §’M/t;'

By: Kevin R. Smith
General Counsel

 

Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Page 9 of 41 Page |D #:48
'_ .. _ g U.S. Department of Justice

 

Federa| Bureau of investigation
Washington, D. C. 20535

March 19, 2014

l\/|R. HENRY OKNYANSKY
APART|V|ENT 1820

600 THREE lSLANDS BOULEVARD
HALLANDALE BEACH, FL 33009

FoiPA Request No.: 1256973-000
subject oKNYANsKY, HENRY (2008-2012
FBi PARoLEs AND oi_D ins FlLEs
'1999-2001 ) " " “ ' ‘

Dear |\/lr. Oknyansky:

This acknowledges receipt of your Freedom of lnformation/Privacy Acts (FOlPA) request to the FBl.

iii Your request has been received at FBI Headquarters for processing

i;"-" Your request has been received at the immigration and Customs Enforcement agency and
forwarded to FB| Headquaiters for processing

ij We are searching the indices to our Central Records System for the information responsive
to this request. We Will inform you of the results in future correspondence

iam _Your request for a fee Waiver is being considered and you Will be advised of the decision at
a later date.

r";"' Please check for the status of your FOlPA request at www.fbi.gov/foia.

The FO|PA Request number listed above has been assigned to your request. Please use this
number in all correspondence concerning your request. Your patience is appreciated

Sincerely,

M~Q

David l\/|. Hardy
Section Chief,
7 re Record/lnformation
Dissemination Section
Records l\/|anagement Division

 

Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Page 10 of 41 Page lD #:49
- U.S. Department of Justice

 

Federal Bureau of investigation
Washington, D.C. 20535

May 29, 2014

|VlR. HENRY OKNYANSKY
APARTMENT 1820

600 THREE lSLANDS BOULEVARD
HALLANDALE BEACH, FL 33009

FO|PA Request No.: 1256973-000
Subject: OKNYANSKY, HENRY
Dear Mr. Oknyansky:

The enclosed documents were reviewed under the Freedom of lnformation/Privacy Acts (FO|PA), Title 5,
United States Code, Section 552/552a Deletions have been made to protect information which is exempt from
disclosure, with the appropriate exemptions noted on the page next to the excision. ln addition, a deleted page
information sheet was inserted in the Hle to indicate where pages were withheld entirely. The exemptions used to
withhold information are marked below and explained on the enclosed Explanation of Exemptions:

 

 

 

Section 552 Section 552a
imm . E@mw imm
'mm® ’ §mm® ibm
Emm Emm@ F®m
E@m@f F®®
imm® E®m
Hmm® E®@
[“j (b)(4) F'l (b)(8) F'l (k)(5)
Em@ . imm E®@
E®@ E®m

3 pages were reviewed and 3 pages are being released.

ri Document(s) were located which originated wlth, or contained information concerning other Government
agency(ies) [OGA]. This information has been:

rs referred to the OGA for review and direct response to you.

in referred to the OGA for consultation. The FB| will correspond with you regarding this information
when the consultation is finished

§ ~ ~

' ln'acco'rdah'ce'"with`standard FBI'practi'ce"ahd pursuant to FO|A"'exemption'(b)(7)(E) and Privacy Act"'
exemption (j)(2) [5 U.S.C. § 552/552a (b)(7)(E)/(j)(2)], this response neither confirms nor denies the existence
of your subject's name on any watch lists.

For your information,'Congress excluded three discrete categories of law enforcement and national security
records from the requirements of the FO|A. §§_e 5 U.S. C. § 552(c) (2006 & Supp. lV (2010). This response is limited
to those records that are subject to the requirements of the FO|A. This is a standard notification that is given to all our
requesters and should not be taken as an indication that excluded records do, or do notl exist, Enc|osed for your
information is a copy of the Explanation of Exemptions.

 

Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Pa'ge 11 of 41 Page lD #:50

l

uf .

g You have the right to appeal any denials in this release. Appeals should be directed in writing to the Director, Oftice
of information Policy (O|P), U.S. Department of Justice,1425 New York Ave., NW, Suite 11050, Washington, D.C.
20530-0001, or you may submit~an appeal through OlP’s eFOlA portal at http://www.iustice.qov/oio/efoia-portal.html.
Your appeal must be received by OlP within sixty (60) days from the date of this letter in order to be considered timely.
The envelope and the letter should be clearly marked “Freedom of information Appeal.” Please cite the FO|PA
Request Number assigned to your request so that it may be easily identified

rul The enclosed material is from the main investigative file(s) in which the subject(s).of your request was the focus of
the investigation. Our search located additional references, in files relating to other individuals, or matters, which may
or may not be about your subject(s). Our experience has shown when ident, references usually contain information
similar to the information processed in the main fiie(s). Because of our significant backlog, we have given priority to
processing only the main investigative frie(s). If you want the references, you must submit a separate request for them
in writing, and they Will be reviewed at a later date, as time and resources permit.

See additional information which follows.

Sincerely,

%»Ml-Q

David M. Hardy

Section Chief

Record/lnformation
Dissemination Section

Records Management Division

Enclosures

This is in response to your Freedom of lnformation/Privacy Acts request submitted to the Records
Management Division in Winchester, Viriginia, on your behalf, by U.S. immigration and Customs Enforcement.

The enclosed material contains information regarding third parties. Third party information is not subject to
access under the Privacy Act, 552(a)(b). Accordingly, your access rights are limited to those provided by the Freedom
of information Act. This material was withheld from you pursuant to 552 (b)(6)/(b)(7)(C), which pertains to material in
which the release would constitute an unwarranted invasion of the personal privacy of third parties. This material is not
appropriate for discretionary release.

The enclosed material is being provided at no charge.

 

Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Page 12 of 41 Page lD #:51

U.S. Department of Homeland Security
Washington, DC 20536-5009

U.S.` Immigration
and Customs
Enforcement

 

January 27, 2014

HENRY OKNYANSKY
600 THREE ISLANDS BLVD APT 1820
HALLANDALE BEACH, FL 33009l

Re: 2014FOIA8343

Dear Mr. Oknyansky;

This acknowledges receipt of your January 23, 2014, Freedom of Inforrnation Act (FOIA)

request to the Immigration and Customs Enforcement (ICE), for any and all records pertaining to Henry
Oknyansky from 2008 - 2012 FBI paroles and old lNS files from 1999 - 2001. Your request was received in this
office on January 27, 2014.

Due to the increasing number of FOIA requests received by this office, we may encounter some
delay in processing your request. Per Section 5.5(a) of the DHS FOIA regulations, 6 C.F.R. Part
5, the Department processes FOIA requests according to their order of receipt. Although DHS’
goal is to respond within 20 business days of receipt of your request, the FOlA does permit a 10-
day extension of this time period. As your request seeks numerous documents that will
necessitate a thorough and wide-ranging search, DHS will invoke a 10-day extension for your
request, as allowed by Title 5 U.S.C. § 552(a)(6)(B). If you care to narrow the scope of your
request, please contact our officc. We will make every effort to comply With your request in a
timely manner; however, there are currently 43 67 open requests ahead of yours.

Provisions of the Act allow us to recover part of the cost of complying with your request. We shall charge you for
records in accordance with the DHS lnterim FOIA regulations as they apply to non-commercial requesters. As a
non-commercial requester you will be charged lO-cents a page for duplication, although the first 100 pages are
free, as are the first two hours of search time, after Which you Will pay the quarter-hour rate ($4.00, $7.00, $lO.ZS)
of the searcher. We will construe the submission of your request as an agreement to pay up to $25.00. You will
be contacted before any further fees are accrued.
We have queried the appropriate program offices within ICE for responsive records. lf any responsive records are
located, they will be reviewed for determination of releasability. Please be assured that one of the processors in
our office will respond to your request as expeditiously as possible We appreciate your patience as we proceed

with your request.

 

Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Page 13 of 41 Page lD #:52

Your request has been assigned reference number 2014FOIA8343. Please refer to this
identifier in any future correspondence You may contact this office at (866) 633-1182.
0ur mailing address is 500 12th Street, S.W., Stop 5009, Washington, D.C. 20536-5009.

Sincerely,

/’
/d; ' //§/jcl&£;,é<;;___
Catrina M. Pavlik-Keenan
FOIA Officer 06}

 

Case 2:97-cv-06909-ER-CW Document 131 Filed OS/&Q§_lb'-'ipai?g,agleo;i§ogfl§hi, SeE@Qe lD #:53
- Washington,DC 20536-5009

“ v ' U.S. Immigration
f and Customs
Enforcement

 

January 27, 2014

HENRY OKNYANSKY

600 THREE ISLANDS BLVD APT 1820
HALLANDALE BEACH, FL 33009

Re: 2014FOIA8343

Dear Mr. Oknyansky:

This acknowledges receipt of your Frecdom of Information Act/Privacy Act (FOIA/PA) request to U.S.
Immigration and Customs Enforcement, dated January 23, 2014, seeking any and all records pertaining
to Henry Oknyansky from 2008 - 2012 FBI paroles and old INS files from 1999 - 2001. Your request
was received in this office on January 27.

An individual’s request for information pertaining to him/her is processed under both the FOlA and the
PA to afford maximum access to records. Because you have asked for copies of records about yourself,
we must verify your identity to ensure that your personal information is not released to anyone other
than you. The DHS regulations, 6 CFR Part 5 § 5.21(d), require Verification of your identity, including
your full name, current address and date and place of birth. In addition, your request must be made in
Writing, must contain your signature, and should either be notarized or contain a statement made under
penalty of perjury as permitted by 28 U.S.C. 1746. Because you have not provided this documentation,
your request is not a proper FOIA/PA request, and we are unable to initiate searching for responsive
records. If we do not receive your revised request within 10 business days from the date of this letter,
we will assume that you no longer require the information requested, and your request will be
administratively closed.

This is not a denial of your request. Upon receipt of a perfected request, you wi11 be advised as to the
status of your request.

7 ._ l_f you`h,ave_nany questions _o_r__ _vvo_uldlike to discussthis matter, please feel free to,contact_ this office,at,_,,,_ ,, w
(866) 633-1182 and refer to 2014FOIA8343. Our mailing address is 500 12th Street, S.W., Stop 5009,

washington,D.C.20536'-5009. ' FV/ A-

- -__ g . F /§ f
C/§ ___ 69/@/§ 75 § §§ Sincerely, ;%U/ch}£` [S(z g/

jj @ a w 003 sf /-Q aaa nw

 

Catrina M. Pavlik-Keenan

FOIA'Officer Zj' OQA/,`/ SJZ//)/V; 7

 

U.S. Department of Homeland Security
Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Pag§i°§§(i§§§%!§§€€@age lD #:54

Lec's Summit, MO 64064~8010

  
    
 
   

U. S. Citizenship
and Immigration
~ns:'¢t Services

q
5
st

O
a
w

March 12, 2014 NR02014025186

Henry Oknyansky
600 Three Islands Blvd., Ste. 1820
Hallandalc Beach, FL 33009

Dear Henry Oknyansky:

We received your request for information relating to your immigration record on March 12, 2014.

Your request is being handled under the provisions of the Freedom of Information Act (5 U.S.C. § 552).
lt has been assigned the following control number: NRC2014025186. Please cite this number in all future
correspondence about your request.

We respond to requests on a first-in, first-out basis and on a multi-track system. Your request has been
' placed in the complex track (Track 2). You may wish to narrow your request to a specific document in

order to be eligible for the faster track. To do so, please send a written request, identifying the specific

document sought, to the address above. We will notify you if your request is placed in the simple track.

In accordance with Department of Homeland Security Regulations (6 C.F.R. § 5.3(0)), your request is
deemed to constitute an agreement to pay any fees that may be chargeable up to 825.00. Fees may be
charged for searching for records sought at the respective clerical, professional, and/or managerial rates of
$4.00/$7.00/$10.25 per quarter hour, and for duplication of copies at the rate of $.10 per copy. The first
100 copies and two hours of search time are not charged, and the remaining combined charges for search
and duplication must exceed $14.00 before we will charge you any fees. Most requests do not require any
fees; however, if fees in excess of $25.00 are required, we will notify you beforehand.

This office will be providing your records on a Compact Disc (CD) for use on your personal computer.
The CD is readable on all computers through the use of Adobe Acrobat software A version of Adobe
Acrobat will be included on the CD. Your records can be viewed on your computer screen and can be
printed onto paper. Only records 15 pages or more are eligible for CD printing To request your
responsive records on paper, please include your control number and write to the above address Attention:
FOlA/lJA Officer, or fax them to (816) 350- 5785.

USCIS no longer collects Social Security Numbers in connection with FOlA or PA requests When
forwarding to us any documents related to your request, please ensure any Social Security Numbers on
the documents are blanked out or removed.

www.uscis._gov

 

Case2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Page 16 of 41 Page lD #:55

NRC2014025186
Page 2

The National Records Center (NRC) has the responsibility to ensure that personally identifiable
information (PII) pertaining to U.S. Citizenship and Immigration Services (USCIS) clients is protected
In our efforts to safeguard this inforrnation, we may request that additional information be provided to
facilitate and correctly identify records responsive to your request. Though submission of this
information is voluntary, withoutthis inforrnation, your request may be delayed while additional steps are
taken to ensure the correct responsive records are located and processed Further, if we are unable to
positively identify the subject of the record we may be unable to provide records responsive to your FOlA
request.

You may check the status of your FOIA request online, at www.uscis.gov. Click on "FOlA Request
Status Chec " located on the left side of the web page under "Other Services", and follow the instructions
Ifyou have any questions concerning your pending FOIA/PA request, or to check the status of a pending
application or petition, please call The National Customer Service Center at 1~800-375-5283. Please be
aware that the National Records Center no longer accepts FOIA/PA related questions directly by phone.

All FOIA!PA related requests, including address changes, must‘be submitted in writing and be signed by
the requester. Please include the control number listed above on all correspondence with this office.
Requests may be mailed to the FOIA/PA Officer at the PO Box listed at the top of the letterhead, or sent
by fax to (816) 350-5785. You may also submit FOIA/PA related requests to our e-mail address at
uscis.foia@uscis.dhs.gov.

Sincerely,

   

Jill A. `E-ngleston
Director, FOIA Operations

 

'Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Page 17 of 41 Page lD #:56

U.S. Department of Homeland Security AUTHORIZATION FOR PAROLE OF AN

 

 

Immigration and Customs Enforcement ALIEN lNTO THE UNITED STATES
Santo Domingo Attaché Office
Name Of Alien (First) (Middle) (Last) Date
June 6, 2008
Henry OKNYANSKY
File Number
A072 860 975

 

Date Of Birth (Month) (Day) (Year) Place of Birth (City or Town) (State or Province) (Country)

06/0 1/1969 Russia

 

U.S. Address (Apt. number and/or in care of) (Number and Street) (City or-Town) (State) (Zip Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named
bearer on board for travel to the United States without liability under section 273 of the Immigration and Nationality
Act for bringing an alien who does not have a visa

Presentation of the original of this document prior to June 13, 2008, will authorize an Immigration Ofiicer at a
port of entry in the United States to permit the named bearer whose photograph appears hereon, to enter the United
States: .

/ x/ As an alien paroled pursuant to section 212(d)(5) of the Immigration and Nationality Act.

//

 

Remarks:

SIGMFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUIHORIZED BY CHIEE
DIANA TSANG. PAROLE HAS BEENA U]HORIZED FOR 90 DA YS COl\/.[MENCH\IG
WITH SUBJECT’S ARRIVAL IN THE UNITED STATES.v IT IS VALID FOR
TRAVEL WITH]N 7 DAYS OF ITS SSUANCE AND Lll\/IITED TO MIAMI POE.

 

DHS-ICE, Santo Domingo .
` (sigiaii're of omcer) (Aurhon'zing oatee)
Ruben Bermudez
.. ICE Acting Assit. Attache'
_ DHS-ICE, Santo Domingo

 

 

C38€ 2. 97- -CV- 06909 ER CVV7 DOCument 131 Filed O8/20/15 P3Q€ 18 O_f 41 P3Q€ |D #7; 57

U. S. Citizenship and lmrriigratiori Services

D ernlandScu k " ' _ .' .
epartmemo 0 e e my ' HOO f * . . I-7.97F, Transportation Let_ter

   

 
  

.U. S. Department of Homeland Scourtty ~' AUTHORIZATION FOR_ PAROLE OF AN ALIEN
-` ;'U. S Citizenship and Immigration S_erv_ices ` v v 7 ' - _ 7` 7 ]NTO THE UNITED STA_TES ' `

 

 

   

 

  
 
  
 
 
  
 
    
 

 

 

 

 

~ _.Name_ofAiien,-' ' g , .» . 7, ,» ¢ ". 4 - _~ -' ,DATE '
- `__' 7. » '_~' _ '- v . -~ ' . '- * - ' .A` r1118 2011
_' s ' ' ` ' ’ .' ' ' _ 77 -' ' 7 f 'FtieNum_ber `
vARzHANiK Gemiady vastiyevt¢h “`iiemy oi<nyansi<y” ' - , y . ' ; v AXXXXXXXX
Date of Birth (lVIonth) _(Day) (Year) Place of Birth. (7City or town) ' ",(State or`provin`ce)-' 7 77 74 (COllnt\'i') 7
7 .~`OG,'O‘U'}_§§Q .' 74 v `P\Ussia l , 7 v 77 ' 7. Russi_a _ ' . .
' US Address (Apt. # and/orin_ care oi) (Number and street) "*"»'(C_ity or town)' .` 7' 7. (Sial_€) (ZIP C.Od€)
’ - . _ 2299 Lone Star Dr Sugar'Land ' ' TX' ‘ .' 77479

n -Presentation of the attached duplicate of this document will aut orizea transportation line to accept the named bearer to _' "
,» _' -` board for travel to the United States without liability under§:_ otten 273 of the immigration and l\l_ationality /-\7ct for bringing an
' ~` allen who does not have a visa. ' » 1 » .

0 f Presentation of the original of this document prior to Ap _. ,`2011 will authorize an immigration officer at_ port of entry
» _(iVliami POE)' in the United States to permit the named bearer, 'Whose photograph appears hereon, to enter the United
f _ States:- , _ _ _ . _

§ As an alien paroled pursuant to section 212( (d)(S) o 7 immigration and Nationaiity Act,-` '

 

' '_ .Remarks;

§ - .- ~ Signifio_ant Public Benefit Paroie for a period of One (1) year ending January 19, 2012
t ' " -' -' f ” " beginning with subjects arrival into the United States approved by DHS i_-.ieadquarters v
Parole Branch. -Travel must occur within seven (7) days of the date of issuance of this
document All ineirgrbtirties known to DHS- LEPlB are waived for Paroie Purposes only.-

 

 

' .This document rs valid .for a single entry into the United States

 

 

 

 

v ' » _ ` DHS Mochw, R`tissiA '
/Signature glinmigration Ol'ficer) ' , v ~ . l 7 ' ~ (Authorizing Office). . , v , ‘ '
.' Susan Aikman,7F71e1d Office Dircclor ' . ' '

 

Q€?’Aiilli:‘;\'/AI'§§STA\%H?~L» speak 72 _ ..

 

 
 

'd_‘W

 

   

f"“'rtl.ii 1 )_r= .,iii;t\,... ."

 

 

 

 

 

’ .~’é,om`n.z-;iziRe-v.1-&1:;2)'§_`Y’ -' "‘ 7 ` = _» = ToTHEP'oiNT or=. ENTRYSUPEersoR ,
» » -' .- ~ .~ ‘ ' -' ~ ~ ’ ' ' ` ~ . 4 FormlvavF(ot/si/tt)`

 

@

' E @1/@1
C§‘é'egéW?cv}oe]e?oe-E]§@eiii?g?§t>cument 131 Filé[‘oEo§i_§dEFY Page 19 0141 Pagepl #:58

O#ice ofthe A.¢.tx's'mm Secrexary
U.S. Department ofHomelond Security

500 12‘“ Street, S.W.
Washington. DC 20024

n U. S; Immigration

    
 

-7 1 _ a
.1 and Customs
Enforcement
MEMORANDUM FDR: ICE Attaclte Phone: 809-731-4345
Dominican Republic Fax: 809-731-4315
SDM
FRoM: Per/ir F. Hoelim§§:§$§r *~\¢1§9“`*
Section Chief, LEPB
DATE: 05/12/2010
SUB.]ECT: Signiticant Public Beneftt Paro.i.e (Depat'tuie) (Case #: IAO 32016 / PH)

Please be advised that Signiticant Public Benefit Parolc has been'authorized until February 4, 2011:

 

Name A-Number FCO DOB POB POE
Arzha.ntk, Gennady Vasilyevic_"l “I-liemy A072 860 975 HOU 06/01/l959 Russi,a MIA
Oknyansky"” k '

 

iirfnlt'i'***'ke¥?n’¢*!:k*'k'k&~k*i’z*k$r'k'k*'k* MULTIPLE AUTHORIZATION hit%k*****iirk*ik**k*ir~hkhiksie-**:it*
ie§¢**\d**¢tint'k*****kd¢-kie*)¢*:\*ii.‘*kh EWLOYMENT AUTHORIZATION **'k****!¢!e**%**************k

Please issue the necessary travel document(s) for Subj ect’s paroie into the United States. The travel
document(s) must be issued within 60 days from the date of this Memo. It is valid for travel within 7 days of
its issuance and limited to MIAM]. POE. DHS-PHAB has waived all known ineligibiliti.es for Parol.e
Purposes only.

The FCO Contact is: Jam.es l\/.[usc (281)-774-4945 7

The Contl‘oi Ofr’icer is: David Baker (281)~204-7272

04/94/2911 142 58 120273282@1

 

. 2 f #159
ease 2:97-1:\/-06909-15&;§10€1> Déinzl£i/\§ilii 32211@':"96'59&/?1%15 Page 939 Aii“CtEEi‘Q'PAGE§CiM 81 m

ICE UIA LEPB

O,Mce oflhc Axxis¢anl Secr¢lao'
U.S. Department of|lomelond Security

soo 12m street s.w.
wmhing¢w. oc 20024

/\ . __ U.S. Immigration

 

and Customs

nforcement
mMORANt)UM FoR= ice A'r'rAcHE none ou.mos.vzs-sooo
. Moscow tim 7011-7495-728.5140

FROM: Gina Holland
- . . Ua_i?. Chie , LB U
DATE: ~ 03/31/201 l
SUBJECT: Signi§cant Public Bene£t Pamle (Extension)
Case #: IAO 32016 /VW

Please be advised that Signilicant Public Benefit Parole has been extended for one (1) year ending January
19, 2012 for the following individual(s): 7

 

Name A-Niimber FCO DOB POB POE
Alzhanik, Sevnady Vasi]yevieh “I-lenry - A072.860 975 HOU 06/01/1959 Ru§ia MIA
Oknyansky”

 

**i************i-***&********* M'ULHPIE AUTHoRIZAnON *1!**9***********!1*9**'&4~*****

*l\-Si§*****Q§**7&************ EWLOY]“ENT AU’IH°RIZATION **k************f¢§*********
Please issue the necessary travel document(s) for Subject’s parole into the United States. The travel '
ocument(s) must be issued within 60 days from the date of this Memo. lt is valid for travel within 7 days of
its issuance and limited to the MIAMI PGE. DHS-I.EPU bee treated atl known ineiigibilities for Pat'ole

The FCO Contact is: James Muse 281-774~494$
7 7 The Conv:<,>i 015¢¢113: David D. carter »(FBI) 281'-204;7272`

Case 2:97-cv-06909-ER-CW Document 131 Filed 08/20/15 Pag§ng,'l][ojfl¢l;lmnlgazg§ml`p #:60

U.S. Department of Homeland Security
425 IStreeL, NW
Washington, DC 20536

U. S. Immigratton
and Customs

 

MEMORANDUM FOR: Ruben Berrnudez, ICE Attache Phone: 9-011-809-731-4366
Yen Fatule Leo, Investigator Fax: 9-011-809-731-4350
SDM

FROM: Diarxa T sang
Branch Chief, LEPB

DATE: 06/05/2008

SUBJECT: Significant Public Benefit Parole (Departure) (Case #: IAO 24206 / MNM)

Please be advised that Stgnificant Public Benefit Parole for 90 days has been authorized for the following
individual(s) commencing with subject’s arrival in the United States:

Name A-Number FCO DOB POB POE

Okiiyansl<y, Henry A072 860 975 HOU 06/01/1969 Russia MlA

 

 

Please issue the necessary travel document(s) for Subject’s parole into the United States. The travel
document(s) must be issued within 60 days from the date of this Mexno. lt is valid for travel within 7 days of
its issuance and limited to MIAMI POE. DHS-PHAB has waived all known ineligibilities for Parole

Purposes only.

 

3

" ` /@1
§§@el/22:3_5@-@\/1-50'§309-§§@-§\iiazhlocumem 131 FilehEo%i§oHY Page 22 0141 Pagepi§E#:§i

w O/}"i`l.?€ Qflhe Assi.rtam Secretmy
U.S. Department of Homeland $nrurity

500 l?."` Strez*.l1 S.W.
Washingtmi, DC 20024

   

Enforcement
MEMORANDUM FOR: ICE Attache Phone: 809-731-4345
Dornini`can Republic Fax: 809-731-4315
SDM
F"tt'.’v“v': \<€ Peter F. Hoelter”l\-b;\_§‘,/»\ib'
Section Chief, LEPB
DATE: 02/Ol /2010
SUBJECT: Signiticant Public Ben.et`tt Parole (Departure) (Case #: IAO 32016 / PH)

Please bc advised that Significant Pu.blic Bene;tit Parole for one (1) year has been authorized for the following

' individual(s) commencing with subject’s arrival in the United States: '

 

Name A-Number . FCO DOB POB POE
Arzhanik, Gemiad.y Vasilyevich “I-lenry A072 860 975 HOU 06/01/ 1959 Rus$ia MT.A
Oknyansicy"'

 

'}¢'J<‘ik‘**')ri\‘**i’ni'dic***ki:k*P'k'ki’¢****k'k*$‘ MULT[PLE AUTHORIZATION iirih’c'}¢*'kk#*¢r*ot~*§nin¥ilnw¢*'ksi‘*s'¢*a\~s\~ev
'J¢';i¢$t%"!¢i\‘o\‘i'ri'¢i¥ii:*¥k*‘k**i¢ii:*ki'nk:it=k* EMPLOYMENT AU'IHORIZATION =h!!"k**‘k‘kini-ri'k%kei"lerk¢ininktk'k'k**k**

helms issue the necess f travel document 's` for Subject’s arole i§§io the United States "The travel
313 .

document(s) must be issued within 60 days from the date of this Memo. lt is valid for travel within 7 days oi"
its issuance and limited to MIAMI POE. DHS-PHAB has waived all known ineligibilities for Paroie
Purposes only.

The FCO Contact isc James Ivi.use 281-774~4945

The Conl:roi Oft'tcer is: David Baker 281~204-7272

 

"Case 2:9'_7-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 23 of 41 Page |D #:62

U.S. Department of Justice AUTHORIZATION FOR PAROLE OF AN ALIEN
Immigration and Naturalization Service INTO THE UNITED STATES

 

 

Name of Alien (First) (Middle) (Last) Date

 

 

 

 

 

02/01/ 10
Gennady Vasilyevich Arzhanik File Number
_ : A 72 860 975
Date of Birth (Month) (Day) (Year)` Place of Birth (City or Town) (State ofProvince) (Country)
June Ol, 1959 Russia
U.S. Address (Apt. number and/or in care of) (Number and Street) (City or Town) (State) (ZIP Code) ,

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to
the United States without liability under Section 273 of the Immigration and Nationality Act for bringing an alien who does not have a
visa.

Presentation of the original of this document prior to 2/08/10 will authorize an immigration officer at a port of entry in the United States
to permit the named bearer, Whose photograph appears hereon, to enter the United States:

X as an alien paroled pursuant to Section 212 (d) (5) of the Imrnigration and Nationality Act.

l:l Solely at the Port of Entry at Miami International Airport.

 

Remarks: \ '
SIGNIFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHORIZED BY SECTION
CHIEF, PETER F. HOELTER. PAROLE HAS BEEN AUTHORIZED FOR ONE (1)
YEAR COMMENCING WITH SUBJECTS ARRIVAL IN THE UNITED STATES.
THIS DOCUMENT IS VALID FOR TRAVEL WITHIN 7 DAYS OF ITS SSUANCE AND

LIMITED T0 MMMI POE.

 

 

 

_ DHS-ICE - sANTO DoMINGo
\®E/ . /M%¢/>%

Donald Bruckschen Authorizing Oche
ICE Assistant Attaché ,

g\‘\l

§ glenn ;a_an""

wm

 
 
 

 

 

_~__ . Ci)

o_L]j/to m/`Z/_) gary

¢[*),_1._( \ ,l_ . 1\1',,\1;=;;,-¢»#]“ ,»I ‘
\

 

d:@g';~pp~[,xr__\-|' .':7 >,"1
Arr`iva`l St;imop "

 

 

 

 

Form 1-512 (Rev. 10-1-82) Y

 

C,ase 2:97-CV-06909-ER-CW Docurr'?§@(}€ll_i&i)ed 08/20/15 Page 24 of 41 Page |D #:63

\
c

U.S. Department of Homeland Security AU'I`HORIZATION FOR PAROLE OF AN

 

 

 

 

 

 

 

 

 

Citizenship and Immigration Services ALIEN INTO THE UNITED STATES
Name of Alien (First) (Middle) (Last)
m L,.~~ - ' May 17, 2011
Gennady Vasilyevich ARZHANIK
File Number
A072 860 975
Date of Birth (Month) (Day)(Year) Place of Birth (City or town) (State or province) (Country)
June 01, 1959 . Russia
U.S. Address (Apt. number and/or in care ot) (Number and street) (City or town) (State) (ZIP Code)

 

 

2299 Lone Star Drive, Sugar Land, Texas 77479

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the name
bearer on board for travel to the United States without liability under section 273 of the Immigrat.ion and
Naturalization Act for bringing an alien who does not have a visa.

Presentation of the original of this document prior to lanua;¥ 19, 2012 will authorize an immigration officer

at a port of entry in the United States to permit the named bearer, Whose photograph appears hereon, to enter
the United States:

As an alien parole pursuant to section 212(d)(5) of the Immigration and Nationality Act.

l:l Entry Limited to:

 

THIS DOCUMENT IS VALlD FOR MULTIPLE ENTRIES AT ANY U. S PORT OF ENTRY. PAROLE
EXPIRES ON JANUARY 19, 2012.

M' Steve R. Martin
§ . S . ] § . Cl

/ (Signature of lmmigration Oiiicer) , (Authorizing Oi`f`ice)
Houston, Texas

 

 

 

 

 

paT.-aENTOF Homel.;\m) seq/goe- -» 12.<' 1: ,1,[.1,,.[“, \_‘L_\U»
lacy P51`i`\1€flii li%"i¥ ':'~*’¢ l’AE€tll,ljlt i//j

Uniil_-j-/w-(.(?iz¢§ll,__»~.~_ syuan " lél~ \`W l/l/ ._i_

m erposo:

::Purposel T~V-‘M”“L_LL_“M _. .. _` . _ ~
trt/atm iiil , .‘_

Z(lf)ate) (Li)catxon] lC\f‘lC Cr)p 151 l :;l
c\\Q`"”'»/\v"’aeln 1 -1 - '~

%@EFARTMENT or HoMELANn si Yw ct ‘)1111» /..l»n _\;; .
QQARTMEMQF amerme mow \iil ii "_l<§'\': ti
\":')‘Q l) §§\q_ }.EALD `

~`;?1
Untif
una\i:cL_l_i_~~ LQQ gotham \.…
w" O°G:
43 Purpose: H~‘~
en § 19

lie /'»Qou /Jol» lf '» “;:§.-
<,"

yiljate) (Loc‘atlon) (Olt'lcerl'

   
   
 
  

 

 

 

 

 

' Oeeheruwlr or mariano SEC\\ ` w

Form 1-512 (Rev. 10-1-82) Y

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 25 of 41 Page |D #:64"

 

lARZHANlK, GENNADY

FCO:HOU

A#072860975 |

 

 

Arriva| Stamp

Arrival Siamp

 

111 Arriy,a! Siamg
____F“"'»'_.FE'.'.=EH,\

=»-i"' PAR()L;<;;) °`”‘i’/,»

§

- Unt'l J,AM:?`/~
Pu rposg_

§ “@j;,:i`

¢ 0

00

lD
“~“---~__-.__Q

2

(LOCEl(ic:m)

 

 

60 {U{J\D)

%WANIMUH LJF Hl.li'vi'; LANL) bt(,(,

g P iiji~r if n i/
0Ur;ti| ___L_`A”l\) 10 l’l/

poq Purpos¢.>;___`

 

-_~_.__~_-___.~.______

cap (Dai€°-) (Omcer)
O@€PARTMENT oF HoMELANn S\=.C\\\¢

(Lc)oation)

O€U?§l

Arriva| Stamp

 

Arrival Stamp

Arriva| Stamp

 

Arrival Stamp

 

Arriva| Stamp

Arrival Stamp

 

 

Arriva| Stamp

Arriva| Stamp

Arrival Stamp

 

 

Arriva| Stamp

Arriva| Stamp' "

Arriva| Stamp

 

 

 

 

 

 

ATTACH|\/|ENT TO |-512

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 26 of 41 Page |D #:65

U.S. Department of Justice AUTHORIZATION FOR PAROLE OF AN ALIEN
Immigration and Naturalization Service ]NTO THE UNITED STATES

 

 

 

 

Name of Alien (First) (Middle) (Last) Date
03/30/ 10
Gennady Vasilyevich Arzhanik File Number
A 72 860 975
Date of Birth (Month) (Day) (Year)` Place of Birth (City or Town) (State of Province) (Country)
June Ol, 1959 Russia

 

 

U.S. Address (Apt. number and/or in care oi) (Number and Street) (City or Town) (State) (ZIP Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to
the United States without liability under Section 273 of the Immigration and Nationality Act for bringing an alien Who does not have a

visa.

Presentation of the original of this document prior to 4/06/10 will authorize an immigration officer at a port of entry in the United States
to permit the named bearer, Whose photograph appears hereon, to enter the United States:

 

X as an alien paroled pursuant to Section 212 (d) (5) of the lmmigration and Nationality Act.
l:l Solely at the Port of Entry at Miami International Airport.
Remarks:

SIGNIFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHORIZED BY SECTIUN
CHIEF, PETER F. HUELTER. PAROLE HAS BEEN AUTHORIZED FOR ONE (1)
YEAR COMMENCING WITH SUBJECTS ARRIVAL IN THE UNITED STATES.
THIS DOCUMENT IS VALID FOR TMVEL WYTHIN 7 DAYS OF ITS SSUANCE AND

LMITED To MMMI 1_>0E.

 

 

DHS-ICE - SANTO DOMINGO

Donald Bruckschen
ICE Assistant Attaché

 

Authorizing Oftice

 

 

 

 

Arrival Stamp

 

Form I-512 (Rev. 10-1-82) Y

 

 

03/22/2101 15:19 12@273282@1 ICE ora L PB P E_ @2
Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20F15 .Page 27 of 41 Page 155 #.gb/

Ojj"l`ce of lhe /!s.eismm Secremry

"" U.S. Department ofHomelnnd Security
500 12"' sweet s.w. _
Washington. DC 20024-

__ __ U-S* Immigration
' and Customs
o°°“ Enforcement

 
   

MEMORANDIM FOR.: ICE Attache Phone: 809~731-4345
Dominiean Republic Fax: 809»731-4315
SDM
FROM: &-D Peter F. Hoelter
l soorioo chief, LEPB
DATE= 02/01/2010 `
SUBJECT: Significant Public Benefit Parol_e (Departure) t (Case #: IAO 32016 / PH)

Please be advised that Si§mii“icant Pnblic Benefit Parole for one (1) year has been authorized for the following
individual(s) commencing With subject’s arrival in the United States:

 

Name A-Number FCU DOB POB POE
Arzhanik, coma/ay vosil_yovioh “Honry A<`)?z soo 975 HoU 06/01/1959 Russie MIA
oimyonsky”` `

 

 

'k'k**$¢*;¥'****zkirk**kie'k'k:\'e*k:b‘k**i'¢*'k MULTIPLE A`UTHORIZATION i¢*\i'*'ks¥**********k*idrkir~k*****
inlc*=%&****¥r§r!n’ek**k'k'k*s‘:‘k*'k*‘k¥: EMPLOMNT AUTHORIZATION =L‘=We'kk**de**k**~k-kir*k*a‘e~k***!:§e

Please issue the necessary travel docmnent(s) for Subject’s parole into the Um'ted States. '~The travel '
document(s) must be issued Within 60 days from the date of this Memo. lt is Valid for travel within 7 days of
its issuance and limited to MIAMI POE. DHS-PHAB has Waived all known ineligibilities for Paroie
Purposes only. ` ~`

The FCO Contact is: James Muse 281-774-4945

7 7 Tho control o%noof is; noon Boi<or 281-204~7272

 

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 28 of 41 Page |D #:67

 

 

 

 

U.S. Department of Justice AUTHORIZATION FOR PAROLE OF AN ALIEN
Immigration and Naturalization Service INTO THE UNITED STATES
Name of Alien (First) (Middle) (Last) Date
03/30/ 10
Gennady Vasilyevich Arzhanik File Number
A 72 860 975
Date of Birth (Month) (Day) (Year)` Place of Birth (City or Town) (State of Province) (Country)
June Ol, 1959 Russia

 

 

U.S. Address (Apt. number and/or in care of) (Number and Street) (City or Town) (State) (ZIP Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to
the United States without liability under Section 273 of the Immigration and Nationality Act for bringing an alien who does not have a
visa.

Presentation of the original of this document prior to 4/06/ 10 will authorize an immigration officer at a port of entry in the United States
to permit the named bearer, whose photograph appears hereon, to enter the United States:

 

X as an alien paroled pursuant to Section 212 (d) (5) of the Immigration and Nationality Act.
\:l Solely at the Port of Entry at Miami lntemational Airport.
Remarks:

SIGNIFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHURIZED BY SECTION
CHIEF, PETER F. HOELTER. PAROLE HAS BEEN AUTHORIZED FOR ONE (1)
YEAR COMMENCING WYTH SUB]ECTS ARRIVAL IN THE UNITED STATES.
THIS DOCUMENT IS VALID FOR TRAVEL WITHIN 7 DAYS OF ITS SSUANCE AND

LIMITED T 0 MIAMI POE.

 

 

DHS-ICE - SANTO DOMINGO

 
   
 
 

/` /
Donald Bruckschen
ICE Assistant Attaché

 
   

 

Authorizing Office

 

 

 

 

Arrival Stamp

 

Form I-512 (Rev. 10-1-82) Y

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 29 of 41 Page |D #:68

U.S. Department ofJustice AUTHOR!ZATION FOR PAROLE OF AN ALIEN
Immigrntion and Natui_'nlization Service INTO THE UNITED STATES

 

 

 

 

 

Nnine of Alien (Eirst) (Micldle) @ast) Date
_ 04/27/09
Geiiiiady Vasilyevieh “Henry” Arzhain'li; File Nuinber
A072 860 975
Date of Birth (Month) (Day) (Year) _ Plaee of Birth (City or Town) (State of Provinee) (Country)
June 01 1959 Russian Federation

 

 

U S Add_ress (Apt number and/or in care oi) (Nuniber and Street) (City or Town) (State) (ZIP Code)

Presentatioii of the attached duplicate of this document will authorize a transportation line to accept the earned bearer on board for travel
to the United States without liability under Section 273 of the immigration and Nationality Act for bringing an alien who does not have a

Piesentatioii of the original of this document prior to 0_5/04/09 will authorize an immigration officer et a port of entry’ iii the United
States to perinit the trained benier, whose photograph appears hereon, to enter the United States:

X as an alien paroled pursuant to Section 212 (d) (5) of the liinnigration and Nationality Act,
l:l solely et the Poi't of Entry at Snii Juan, Puerto Rico POE. -

 

 

SIGMFICANT PUBLIC _BENEF_IT PARQLE H_AS BEEN AUZHQR_IZED BY BRANCH CHIEF DIANA TS_ANG
PAROLE HAS BEEN AU_YHQ!UZE__D FOR ZHZRTY ( 3 0) DA YS COMéENCLNG W_HH SUBJECTS A_RRJVA_L lN
ZHE UNITED STATES TH_IS DOCUMENT _IS VALID FQ_R TRAVEL MTH_I_N 7 DAYS Q_F ITS ISSUANCE AND
LIMITED TQ MM!\_II POE

 

 

 

 

 

   

1 ` v DHS=ICE - SANTO DOMJNGO
§ gao Vé y §
'Boiinld Bnielischen Aiitho_rizing Ohice
ICE Aesistant Attache `
_o?? ml»A KO! l*:i) /“

"UC
»:\
7."

54&0:::1 Ué‘
ii
l
\ \

,__.-_-

_ t 2003
t
a

j
]_ 330 Mze§fi;]%

ala it or worn

WWELANo 593

 

 

 

ogoA_Rw~€m or

 

Form 1~512 (Rev, 10»1=82) Y

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 30 of 41 Page |D #:69

\
t

U.S. Department of Justice AUTHORIZATION FOR PAROLE OF AN ALIEN
Immigration and Naturalization Service ' INTO THE UNITED STATES n

 

 

Name of Alien (First) (Middle) (Last) Date

 

 

 

03/30/ 10
Gennady Vasilyevich Arzhanik File Number
4 A 72 860 975
Date of Birth (Month) (Day) (Year)` Place of Birth (City or Town) (State of Province) (Country)
June 01, 1959 Russia

 

 

U.S. Add.ress (Apt. number and/or in care oi) (Number and Street) (City or Town) (State) (ZIP Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to
the United States without liability under Section 273 of the Immigration and Nationality Act for bringing an alien who does not have a
visa.

Presentation of the original of this document prior to 4/06/10 will authorize an immigration officer at a port of entry in the United States
to permit the named bearer, whose photograph appears hereon, to enter the United States:
X as an alien paroled pursuant to Section 212 (d) (5) of the Immigration and Nationality Act.

l:l Solely at the Port of Entry at Miami lntemational Airport.

 

Remarks:
SIGNIFlCANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHORIZED BY SECTION

CHLEF, PETER F. HOELTER. PAROLE HAS BEEN AUTHORIZED FOR ONE (1)
YEAR COMMENCING WITH SUBJECTS ARRIVAL IN THE UNITED STATES.
THIS DOCU]WENT IS VALID FOR TRAI/EL WITH.UV 7 DAYS OF-ITS SSUANCE

 

 

 

LIMITED To A_IMMI POL _ -

 

NW,/dal _ _ v _ . DHS-icE_- sANro DoMi_NGo

Donald Bruckschen _ . l . Authorizing Ofiice
ICE Assistant Attaché ' `

 

 

Arrival Stamp

 

 

 

Form 1-512 (Rev. 10-1-82) Y

r

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 31 of 41 Page |D #:70

U.S. Department of Justice AUTHORIZATION FOR PAROLE OF AN ALIEN
Immigration and Naturalization Service INTO THE UNITED STATES

 

 

 

 

 

Name of Alien (First) (Middle) (Last) Date
06/ l 6/ l 0
Gennady Vasilyevioh Arzhanik File Number
A 72 860 975
Date of Birth (Month) (Day) (Year)` Place of Birth (City or Town) (State of Province) (Country)
June 01, 1959 Russia

 

 

U.S. Address (Apt. number and/or in care ot) (Number and Street) (City or Town) (State) (ZIP Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to

the United States without liability under Section 273 of the lminigration and Nationality Act for bringing an alien who does not have a
visa.

Presentation of the original of this document prior to 6/23/ 10 will authorize an immigration officer ata port of entry in the United States
to permit the named bearer, whose photograph appears hereon, to enter the United States:

 

X as an alien paroled pursuant to Section 212 (d) (5) of the lmmigration and Nationality Act.
l:l Solely at the Port of Entry at Miami Intemational Airpoit.
Remarks:

SIGNIFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHORIZED BY SECTIGN
CHIEF, PETER F. HOELTER. PAROLE HAS BEEN A UTHORIZED UNTIL
FEBRUARY 4, 2011. THIS DOCUMENT IS VALID FOR TRAVEL WITHIN 7DAYS OF
ITS SSUANCE AND LIMITED TO MIAMI POE.

 

 

 

 

E_ "`\§ § : DHS-ICE - SANTO DOMlNGO
Donald Bruc schen Authorizing Oftice

ICE Assistant Attaché

 

 

 

 

Arrival Stamp

 

Form I-512 (Rev. 10-1-82) Y

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 32 of 41 Page |D #:71

a

U.S. Department of Justice AUTHORIZATION FOR PAROLE OF AN ALIEN
Immigration and Naturalization Service INTO THE UNITED STATES

 

 

 

 

 

Name of Alien (First) (Middle) (Last) Date
02/23/ 10
Gennady Vasilyevioh Arzhanik File Number
A 72 860 975
Date of Birth (Month) (Day) (Year)` Place of Birth (City or Town) (State of Province) (Country)
June 01, 1959 Russia

 

 

U.S. Address (Apt. number and/or in care ot) (Number and Street) (City or Town) (State) (Z[P Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to
the United States without liability under Section 273 of the Immigration and Nationality Act for bringing an alien who does not have a
visa

Presentation of the original of this document prior to 3/02/10 will authorize an immigration officer at a port of entry in the United States
to permit the named bearer, whose photograph appears hereon, to enter the United States:

 

X as an alien paroled pursuant to Section 212 (d) (5) of the lmmigration and Nationality Act.
l___l Solely at the Port of Entry at Miami International Ai`rport.
Remarks:

SIGNIFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHORIZED BY SECTION
CHIEF, PETER F. HOELTER. PAROLE HAS BEEN AUTHORIZED FOR ONE (1)
YEAR COMMENCING WYTH SUBJECTS ARRIVAL IN THE UNITED STATES.
THIS DOCU]\IENT IS VALID FOR TRAVEL WITHIN 7 DAYS OF ITS SSUANCE AND

LIMITED T 0 MIAMI POE.

 

 

 

l

DHS-ICE - SANTO DOMINGO

 

 

 

y§J\D,onald Bruckschen 4 Authorizing Oflice
" ICE A_ssistant Attaché _ - . ' l

 

 

 

 

Arrival Stamp

 

Form 1~512 (Rev. 10-1-82) Y

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 33 of 41 Page |D #:72

l

U.S. Department of Justice AUTHORIZATION FOR PAROLE OF AN ALIEN
Immigration and Naturalization Service INTO THE UNITED STATES

 

 

 

 

 

Name of Alien (First) (Middle) (Last) Date
06/16/10
Gennady Vasilyevioh Arzhanik File Number
A 72 860 975
Date of Birth (Month) (Day) (Year)` Place of Birth (City or Town) (State of Province) (Country)
June 01, 1959 Russia

 

 

U.S. Address (Apt. number and/or in care oil (Number and Street) (City or Town) (State) (ZIP Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to
the United States without liability under Section 273 of the Immigration and Nationality Act for bringing an alien who does not have a
visa. _

Presentation of the original of this document prior to 6/23/ 10 will authorize an immigration officer at a port of entry in the United States
to permit the named bearer, whose photograph appears hereon, to enter the United States:

 

X as an alien paroled pursuant to Section 212 (d) (5) of the lmmigration and Nationality Act.
l:l Solely at the Port of Entry at Miami lnternational Airport.
Remarks:

SIGNIFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHORIZED BY SECTION
CHIEF, PETER F. HUELTER. PAROLE HAS BEEN AUTHORIZED UNTIL
FEBRUARY4, 2011. THIS DOCU.MENT IS VALID FOR TRAVEL WITHIN 7DAYS OF

ITS SSUANCE AND LIMITED TO MIAMI POE.

 

 

 

:(:` § § ; DHS-ICE - SANTO DOMINGO
l l, _ , /
Donald Bruc cschen Authorizing Office

ICE Assistant Attaché oaRT*,tEltT OF HC'!dE.t. 1‘»~.'.\1‘{1 i§'st§C(/_€;ih
»»§“' int tim tim
J l /"/';`E'£'//_f7
Unt'\l .,o*_.,~,,._,_/§,- ,_,._. _
m _ _ 7 _ Hw
Purpoec. .,_T a
st ) MMM q
i'””~’“<i:: i___,,m__e
or ~w'/O a/anzrzé
n iM‘(>l‘.,ioi','alarm (O .icon`bq§o
line sef»

 

_.._.¢~,.-,».

€5¢ ; (Da`te)

‘\S é»
' 5 . QF liQitir.l
artists

 

 

 

 

Form 1-512 (Rev. 10-1-82) Y

 

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 34 of 41 Page |D #:73

l
1

U.S. Department of Homeland Security AUTHORIZATION FOR PAROLE OF AN

 

 

 

 

 

 

 

 

 

Citizenship and Immigration Services ALIEN INTO THE UNITED STATES
Name of Alien (First) (Middle) (Last)
` May 17, 201 1
Gennady Vasilyevich ARZHANIK
File Number
A072 860 .975
Date of Birth (Month) (Day)(Year) Place of Birth (City or town) (State or province) (Countiy)
June 01, 1959 Russia
U.S. Address (Apt. number and/or in care ot) (Number and street) (City or town) (State) l (ZIP Code)

 

 

2299 Lone Star Drive, Sugar Land, Texas 77479

 

Presentat.ion of the attached duplicate of this document will authorize a transportation line to accept the name
bearer on board for travel to the United States Without liability under section 273 of the Immigration and
Naturalizat:ion Act for bringing an alien Who does not have a visa.

Presentation of the original of this document prior to lanua§¥ 19, 2012 Will authorize an immigration officer
at a port of entry in the United States to permit the named bearer, Whose photograph appears hereon, to enter
the United States:

As an alien parole pursuant to section 212(d)(5) of the Immigration and Nationality Act.

I:l Entry Limited to:

 

THIS DOCUMENT IS VALID FOR MULTIPLE ENTRIES AT ANY U.S. PORT OF ENTRY. *PAROLE
EXPIRES ON JANUARY 19, 2012.

/M Steve R. Martin »
§ . S . l § . C]

/(Signature of immigration Officer) (Authorizing Ofl`ice)
Houston, Texas

 

 

 

 

- Arrival Stamp

 

 

 

 

Form 1-512 (Rev. 10-1-82) Y

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 35 of 41 Page |D #:74

.U.S. Department of Justice . AUTHORIZATION FOR PAROLE OF AN' ALIEN
Immigration and Naturalization Service H\ITO THE UNITED STATES ~ ‘ t

 

 

 

 

 

Name of Alien (First) (Middle) . (Last) Date z
_ 02/0 1/10
Gennady Vasilyevich Arzhanik File Number
A 72 860 975
Date of Birth (Month) (Day) (Year)` Place of Birth (City or Town) (State of Province) v (Country)
June 01, 1959 Russia

 

 

U.S. Address (Apt. number and/or in care oi) (Number and Street) (City or Town) l (State) ~ (ZIP Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to
the United_States Without liability under Section 273 of the lmmigration and Nationality Act for bringing an alien who does not have a
visa. .

Presentation of the original of this document prior `to 2/08/ 10 will authorize an immigration officer at a port of entry in the United States
to permit the named bearer, Whose photograph appears hereon, to enter the United States:

X. as an alien paroled pursuant to Section 212 (d) (5) of the Immigration and Nationality Act. 1

l:| Solely at the Port of Entry at Miami International Airport.

 

Remarks:
SIGNIFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHORIZED vBY SECTION
CHIEF, PETER F. HOELTER. PAROLE HAS BEEN AUTHORIZED FOR `ONE (1)
YEAR_ .COMMENCING WITH SUB]ECTS ARRIVAL IN THE UNITED STATES.
THIS DOCU]WENT IS VALID FOR TRAVEL WYTHIN 7 DAYS OF ITS SSUANCE AND

`LMITED .To MIAMI POE.

 

 

 

H_° ‘ DHS-ICE - SANTO DOMINGO ~.
h<ém/ /A-/J> . _. __

‘ Donald Bruckschen ’ _ _ Authorizing Oftice
ICE Assistant Attaché

 

-\:.»Z_v mm 7

    

 

 

Arrival Stamp

 

Form l~512 (Rev. lO-l-'82) Y

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 36 of 41 Page |D #:75

 

 

U.S. Department of Homeland Security AUTHORIZATION FOR PAROLE OF AN
Immigration and Customs Enforcement ALIEN INTO THE UNITED STATES
Santo Domingo Attaché Office
Name Of Alien (First) (Middle) (Last) Date
June 6, 2008
Henry OKNYANSKY
File Number
A072 860 975

 

Date Of Birth (Month) (Day) (Year) Place of Birth ({Eity or Town) (State or Province) (Country)

06/0 l/ 1969 Russia

 

U.S. Address (Apt. number and/or in care of) (Number and Street) (City or Town) (State) (Zip Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named
bearer on board for travel to the United States without liability under section 273 of the lrnmigration and Nationality
Act for bringing an alien who does not have a visa.

Presentation of the original of this document prior to June 13, 2008, will authorize an Irnmigration OHicer at a
port of entry in the United States to permit the named bearer whose photograph appears hereon, to enter the United
States: 4

/ x / As an alien paroled pursuant to section 212('d)(5) of the Immigration and Nationality Act.

//

 

Remarks: .

S[GNIFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHORIZED BY CHIEF,
DIANA TSANG. PAROLE HAS BEENA UTHORIZED FOR 90 DA YS COMMENCING
WITH SUBJECT’S ARRIVAL IN THE UNITED STATES. -IT IS VALID FOR
TRAVEL WITHIN 7 DAYS OF ITS SSUANCE AND LIMITED TQ MIAMI POE.

 

 

DHS-ICE Santo Domin o .
(Siénatuif: of Oflicer)¢ (Authorizing Oflice)

Ruben Bermudez

ICE Acting Assit. Attaché

DHS-ICE, Santo Domingo

 

 

' i;-'Aaottu wasu,>.,\"r':rb“}§§i:~.-ilii;i)' t"-"

j cr THE 1 a N ACT r , 7

;,; ...…W ---~»»~f
ll '\"l/ lDa!E) (m"r`)""""'““°` :
§M<n,a€[¥;€§? /YJ”JT

 

 

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 37 of 41 Page |D #:76

U.S. Department of Justice AUTHORIZATION FOR PAROLE OF AN ALIEN
Immigration and Naturalization Service INTO THE UNITED STATES

 

 

 

 

 

Name of Alien (First) (Middle) (Last) Date
02/23/ 10
Gennady Vasilyevich Arzhanik File Number
A 72 860 975
Date of Birth (Month) (Day) (Year)` Place ofBirth (City or Town) (State of Province) (Country)
June 01, 195'9 Russia

 

 

U.S. Address (Apt. number and/or in care or) (Number and Street) (City or Town) (State) (ZIP Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to
the United States without liability under Section 273 of the Immigration and Nationality Act for bringing an alien who does not have a
visa.

Presentation of the original of this document prior to 3/02/ 10 will authorize an immigration officer at a port of entry in the United States
to permit the named bearer, whose photograph appears hereon, to enter the United States:
X as an alien paroled pursuant to Section 212 (d) (5) of the Irnrnigration and Nationality Act.

l:l Solely at the Port of Entry at Miami International Airport.

 

Remarks:
SIGNIFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHORIZED BY SECTION

CHIEF, PETER F. HUELTER. PAROLE HAS BEEN AUTHORIZED FOR ONE (1)
YEAR COMMENCING WITH SUBJECTS ARKIVAL IN THE UNITED STATES.
THIS DOCUMENT IS VALID FOR TRA VEL WITHIN 7 DA YS OF ITS SSUANCE AND

LIMITED T 0 MIAMI POE.

 

 

DHS-ICE - SANTO DOMINGO

 

 

 

"é._r)’onaid Bruckschen Authon'zing office
ICE Assistant Attaché

 

 

 

 

Arrival Stamp

 

Form I-512 (Rev. 10-1-82) Y

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 38 of 41 Page |D #:77

U.S. Department of Justice
Irnmigration and Naturalization Service

AUTHORIZATION FOR PAROLE OF AN ALIEN

 

 

 

 

 

 

 

INTO THE UNITED STATES

Name of Alien (First) (Middle) (Last) Date

June 22, 2010

Gennady Vasilyevich ARZHANIK

File Number

A072 860 975
Date of Birth (Month) (Day)(Year) Place of Birth (City or town) (State or province) (Country)
June 01, 1959 . Russia
U.S. Address (Apt. number and/or in care oi) (Number and street) (City or town) (State) (ZlP Code)

 

 

Presentation of the attached duplicate of this document Will authorize a transportation line to accept the name bearer on board for travel to the United
States without liability under section 273 of the Immigrau'on and Naturalizatjon Act for bringing an alien who does not have a visa.

Presentation of the original of this document prior to Februa;¥ 01, 2011, will authorize an immigration officer at a port of entry in the United States
to pemiit the name bearer, whose photograph appears hereon, to enter the United States:

§ As an alien parole pursuant to section 212(d)(5) of the Irnmigration and Nationality Act.

l:|

 

REMARKS:

 

THIS DOCUMENT IS VALID FOR MULTIPLE ENTRIES AT ANY U.S. PORT OF ENTRY. SIGNIFICANT
PUBLIC BENEFIT PAROLE VALID UNTlL FEBRUARY 01, 2011.

 

 

 

M (Signature of Immigration Ofi`icer)

 

Form 1-512 (Rev. 10-1-82) Y

vii nn£!\'i

Steve R. Martin,

Assistant Special Agent in Charge
(Authorizing Ofticer)

 

SEC 1
,<ji\i`\ll‘hl:liTr C‘r HOi\'\:LF‘i€D L/\>/)

»‘ tr LLD
““” sort

~:t 4 "'
Until_,____, i ?Nb MM%;
§ Purpose: ,__1..¢‘"§§
M"”'”. . `
?MALS a 340
Ottlc'. :i‘i at _ 7 iiiii
527-gap (Date) (Loca\iori) t _ Q\

C'»
/>L~-`.m'\irur mt HOMF'. b"""- 1

 

 

 

UA?\-»mcm oF HOME_LAND SE
§ PA.H€)L` CU'/"

431 111
\_}Until`~»\é~.` / zd/
§Purpose?_`____ wm
§011~;`:¢;:::~11111§
ca 00§0/ /7‘ f w
6@0(031@) (Lor_“.nt:on)abl /z g

05 (OHsce~rl ix
PARrMENi oF anita run =FC»\`<

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 39 of 41 Page |D #:78

U.s. Department emma AUTnonizAnoN non ninan on AN ALIEN
lmmigration and Naturalization Service INTO THE UNlTED STATES

 

 

 

 

 

Naina of Alien (Eirst) (Middle) (Last) Date
04/27/09
Ga;niady Vasilyevich “lienry” Arzhamk File Nuniber
AO7Z 860 975
Date ofBinli (Month) (Day) (Y@~ar) '_Plaoa of Birth (@ity or Town) (Siaia o.f Provinoe) (Connny)
luna Ol, 1959 Russian Federation

 

 

_ U.S,'A¢idress" (Apt. nnnibar and/orinoai'a oi) "(l§nnil§ér'and`$`tiéet)" '(City orToWn) (Staté)' (ZLP"C_'{)`de)`""

 

Presontation of the attached duplicate of this document Will authorize a transportation line to accept the named bearer on board for travel
to the United States without liability under Section 273 of the himiigration and Nationality Act for bringing an alien Who does not have a
visa ~
Presentat_ion of the original ofthis document prior to __05104[*09 t will authorize an immigration officer ata pon of entry in the United
States to permit the named bearer, whose photograph appears hereon to enter the United States:

X as an alien paroled pu:suant to Section 212 (d) (5) of the Iinmigration and Nationality Act.

\:l apiay' anna Port of amy ar aaa man mm nice POE.

 

Reina;l§§;» .
SIGMFJCA..NT PUBLIC BENEFIT PAROLE HAS BEEN AUTHQIUZED Bl’ BRANCH CH!EE DIANA TS_ANG
PAROLE HAS BEENA.UZHQMZED FOR THIRIY (30) DAYS COAMNCMG WHH SUBJECTS ARRIVAL lN
YHE UNITED STATES THIS DOCUMENT lS VALID FQR TRAVEL WZTHLN 7 DAYS OF_ITS ISSUANCEAND

 

 

 

 

R:';y/w VAV / DHS»lCE - SANIO DOMJ_NGO l

’Donald Bnlol;sohen _ v Aut_holizing Oiiiae
ICE Aaaistant Anacha

 

 

, Pa¢aaah'

1

ninvn annp '

 

    

 

 

 

am 1~512 caev. 10=1~22) Y

Case 2:97-CV-0690'9-ER-CW Document 131 Filed 08/20/15 Page 40 of 41 Page |D #:79

 

 

 

 

 

 

 

U.S. Department of Justice AUTHORIZATION FOR PAROLE OF AN ALIEN n
lmmigration and Naturalization Service INT 0 THE UNITED STATES
__ _,Narne _¢_)f_A]i_en ` (First) (Middle) (Last) Date
4 ` June 22, 2010
Gennady Vasilyevich ARZHANIK
File Number
A072 860 975
Date of Birth (Month) (Day)(Year) n Place of Birth (City or town) (State or province) (Coumry)
June 01, 1959 Russia
U.S. Address (Apt. number and/or in care of) (Number and street) (City or town) (State) (ZIP Code)

 

 

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the name bearer on board for travel to the United
States without liability under section 273 of the Immigratjon and Naturalizat.ion Act for bringing an""a`}§en who does not have a visa,

Presenta’don ofthe original of this document Prior to Februagg 01 , 2011, will authorize an immigration omcer ar a port of entry in the United States
to permit the name bearer, whose photograph appears hereon to enter the United States:

v
As an alien parole pursuant to section 2]2(d)(5) of the immigration and Nationality Act.

I:l

 

REM- A R`KS:
THIS DOCUMENT IS VALID FOR MULTIPLE ENTRIES AT _ANY U.S. PORT OF ENTRY. SIGNIFICANT
PUBLIC BENEFIT PAROLE VALID UNTIL FEBRUARY 01, 2011.

 

 

 

 

 

 

Steve R. Martin,
. ‘ '- Assistant Special Agent in Charge
wig/nature of»li'nmigration Omcer) (Au"horizing Om¢€r)

 

 

ARRIVAL STAMP

 

 

 

 

Form 1-512' (Rev. 10-1-82) Y

 

Case 2:97-CV-06909-ER-CW Document 131 Filed 08/20/15 Page 41 of 41 Page |D #:80

n "

U.S. Department of Justice AUTHORIZATION FOR PAROLE OF AN ALIEN
Immigration and Naturalization Service INTO THE UNITED STATES

 

 

 

 

 

Name of Alien (First) (Middle) (Last) ' Date
0 6/ 1 6/ l 0
Gennady Vasilyevich Arzhanik File Number
A 72 860 975
Date of Birth (Month) (Day) (Year)` Place of Birth (City or Town) (State of Province) (Country)
June 01, 1959 Russia

 

 

U.S. Address (Apt. number and/or in care oi) (Number and Street) (City or Town) (State) (ZIP Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to
the United States without liability under Section 273 of the Immigration and Nationality Act for bringing an alien who does not have a
visa.

Presentation of the original of this document prior to 6/23/ 10 will authorize an immigration officer at a port of entry in the United States
to permit the named bearer, whose photograph appears hereon, to enter the United States:

 

X as an alien paroled pursuant to Section 212 (d) (5) of the lmmigration and Nationality Act.
l:l Solely at the Port of Entry at Miami International Airport.
Remarks:

SIGNIFICANT PUBLIC BENEFIT PAROLE HAS BEEN AUTHORIZED BY SECTION
CHIEF, PETER F. HOELTER. PAROLE HAS BEEN AUTHORIZED UNTIL
FEBRUARY 4, 2011. THIS DOCU.MENT IS VALID FOR TRAVEL WYTHIN 7DAYS OF
ITS SSUANCEAND LIMITED TO MIAMI POE.

 

 

 

DHS-ICE - SANTO DOMINGO
. l/ / ~'
Donald Bruckschen Authorizing Office
ICE Assistant Attaché

 

 

 

 

 

Arrival Stamp

 

Form 1-512 (Rev. 10-1-82) Y

